23-11007-cgb Doc#83 Filed 08/08/24 Entered 08/08/24 11:44:16 Main Document Pg 1 of 4




  The relief described hereinbelow is SO ORDERED.



  Signed August 08, 2024.

                                                       __________________________________
                                                            CHRISTOPHER G. BRADLEY
                                                       UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

   In re:                                        §          Case No. 23-11007-cgb
                                                 §
   ARTIUSID, INC.,                               §          Chapter 7
                                                 §
                   Alleged Debtor.               §

     ORDER ABATING PROCEEDINGS ON DEBTOR'S MOTION FOR REHEARING,
         GRANTING STAY OF ORDER FOR RELIEF PENDING RULING ON
            CONSENSUAL DISMISSAL OF INVOLUNTARY CASE, AND
            SETTING PROCEDURES FOR APPROVAL OF DISMISSAL

            THIS MATTER came before the Court for Status Conference on Thursday, August 1, 2024

  (the “Status Conference”), pursuant to the Court's Order Setting Status Conference on Motion for

  Rehearing of the Order for Relief [ECF No. 74]. As referenced in that Order, the Debtor’s Motion

  for Rehearing, Etc. [ECF No. 70] (the “Motion for Rehearing”) was directed to the Order for

  Relief Under Chapter 7 [ECF No. 62] (the “Order for Relief”) entered by the Court on July 24,
23-11007-cgb Doc#83 Filed 08/08/24 Entered 08/08/24 11:44:16 Main Document Pg 2 of 4




  2024, following the entry of its Opinion on Motion to Dismiss Involuntary Case [ECF No. 60] and

  Order Denying Motion to Dismiss [ECF No. 61] on July 23 and 24, 2024, respectively.

          At the Status Conference, counsel for the Debtor and Petitioning Creditors announced the

  terms of a settlement pursuant to which the Involuntary Petition [ECF No. 1] shall be dismissed

  by consent upon payment of an agreed sum to the trust account of New York litigation counsel for

  the Petitioning Creditors, subject to compliance with the procedures set forth in section 303(j) of

  the Bankruptcy Code, 11 U.S.C. §303(j), and to a stay of the Order for Relief pending such

  compliance and dismissal. The Court having heard from counsel for the Debtor, Petitioning

  Creditors, the Chapter 7 Trustee and other parties in interest on the record at the Status Conference,

  and otherwise being duly advised in the premises, finds and determines that the proposed

  procedures as set forth on the record and below are reasonable and calculated to avoid prejudice

  to the interests of all parties in interest. Accordingly, it is

          ORDERED AND ADJUDGED AS FOLLOWS:

          1.      Within seven (7) days of the entry of this Order, the Debtor and Petitioning

  Creditors shall file a stipulation and/or joint motion setting forth their consent to the dismissal of

  the Involuntary Petition (the “Dismissal Motion”) under section 303(j) and/or 707 of the

  Bankruptcy Code, 11 U.S.C. §§303(j), 707, as the Court may determine to be applicable..

          2.      Pursuant to Local Rules 9013 and 9014 of this Court, the Debtor and Petitioning

  Creditors shall comply with this Court’s rules regarding service and negative notice period in

  respect of the Dismissal Motion. In connection with that Motion, the Debtor shall identify all

  known creditors, whether their claims are contingent, disputed, or unliquidated, and file, under

  penalty of perjury, a matrix identifying the creditors by name and last known address. The Debtor

  shall serve the Dismissal Motion and attachments and any notice of hearing upon all creditors and




                                                       2
23-11007-cgb Doc#83 Filed 08/08/24 Entered 08/08/24 11:44:16 Main Document Pg 3 of 4




  interested parties, including the Chapter 7 Trustee and the United States Trustee, and file a

  certificate of service of same.

         3.      Pending a final disposition of the Dismissal Motion at the hearing to be scheduled

  as set forth above:

                 a.      The Order for Relief be and hereby is STAYED IN ALL RESPECTS

                         except as stated on the record and expressly provided for in this Order,

                         upon the condition that during the period of such stay the Debtor shall make

                         no transfers or dispositions of assets outside the ordinary course of its

                         business;

                 b.      Except as otherwise set forth herein the Chapter 7 Trustee shall be

                         DISCHARGED of any responsibility to act as a Trustee under section 704

                         of the Bankruptcy Code, 11 U.S.C. §704, as indicated on the record at the

                         Status Conference and subject to further order of the Court; and

                 c.      All proceedings on the Motion for Rehearing are hereby ABATED.

                 d.      Notwithstanding the entry of the Stay as set forth above, the Chapter 7

                         Trustee shall have the right to appear and be heard in respect of the

                         Dismissal Motion and any other matter, and to seek the allowance and

                         payment of reasonable fees and expenses.

         4.      The Debtor shall submit the following cash flow reports to the U.S. Trustee:

                 a.      On a one-time basis, a recent cash flow statement covering a six-month

                         period prior to July 24, 2024; and

                 b.      On a bi-weekly basis commencing on July 24, 2024, to be submitted within

                         7 days from the close of each such period pending further Order of the

                         Court.


                                                  3
23-11007-cgb Doc#83 Filed 08/08/24 Entered 08/08/24 11:44:16 Main Document Pg 4 of 4




          5.      The Dismissal Motion also will present the settlement between the Debtor and

  Petitioning Creditors to the Court for approval in accordance with Bankruptcy Rule 9019.

          6.      New York litigation counsel for Petitioning Creditors shall not distribute any

  settlement proceeds prior to the entry of an further order from this Court dismissing this

  involuntary case, which order has become final and is no longer subject to rehearing or appeal. .

          7.      For avoidance of doubt, the relief set forth in this Order is effective immediately as

  of the Status Conference.

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